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                        Exh. A
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                                 UNITED STATES DISTRICT COURT
                                                         for the
                                              Southern District of Florida

HYDENTRA HIP INT. LIMITED, a forellar; corporation           )
               dfola METART,                                 )
                                                             )
                                                             )
                        Plaingars)                           )
                            v.                               )     Civil Action No. 1:15-ov.22463-MGC
                                                             )
  MAXIMUM APPS INC. OA SEX.COM; CLOVER                       )
      HOLDINGS LIMITED PARTNERSHIP dlbta                     )
      SEX.COM; and FREDERIC VAUQUETTE,
                                                             )
                                                             )
                       Delemiatries)                         )

                                            SUMMONS IN A CIVIL. ACTION

To: (0fndani's name and okIntis)       CLOVER HOLDINGS LIMITED PARTNERSHIP
                                       dtota SELCOM
                                       c/b E.M. French, Director
                                       Egmont Street. Sonadles Plaza Suite 3
                                       Kingstown Saint Vincent



         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency. or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (aX2) or (3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Aaron Behar, Esq.
                                Jaclyn Behar, Esq.
                                 BeharBehar
                                1840 North Commerce Parkway, Suite 1
                                Weston, FL 33328
                                Telephone: (054) 888-7842
         If you Mil to respond, judgment by default wilt be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.


                                                                                                     SUMMONS

              Jul 16, 2015
 Date:
                                                                                                   31 Yemeni,' Herrero
                                                                                                   Deputy Clerk
                                                                                                   U.S. District Courts
                                                                        Steven M. Larimore
                                                                          Clerk of Court
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                                 CASE NO.:


   HYDENTRA HL! INT. LIMITED, a
   foreign corporation d/b/a METART,

          Plaintiff,

   vs.

   MAXIMUM APPS INC., a foreign
   company d/b/a SEX.COM; CLOVER
   HOLDINGS LIMITED PARTNERSHIP,
   a foreign company d/b/a SEX.COM;
   SEX.COM; FREDERIC VALIQUETTE,
   an individual; and John Does 1-20,

          Defendants.


                        COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF
                              AND DEMAND FOR JURY TRIAL

          Plaintiff, Hydentra HLP Int. Limited, d/b/a MetArt, (hereinafter referred to as "Plaintiff') by

   and through its counsel, file this complaint against Defendants, Maximum Apps Inc. d/b/a

   Sex.Com, Clover Holdings Limited Partnership d/b/a Sex.com; Sex.com; Frederic Valiquette, an

   Individual, and the John Doe Defendants (collectively hereinafter referred to as "Defendant" or

   "Defendants").

                                      JURISDICTION AND VENUE

          1.        Plaintiff is a foreign corporation organized under the laws of the Cyprus, with offices

   located in Los Angeles, California.
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         2.      Defendant Maximum Apps Inc. is a foreign corporation, with offices in Montreal,

  Canada. Upon information and belief, in conjunction with the other Defendants, Maximum Apps

  Inc. owns and operates Sex.com, an Internet website that displays and distributes adult oriented

  videos, photographs, content, and services.

         3.      Defendant Clover Holdings Limited Partnership is a foreign corporation, with offices

  in Montreal, Canada. Upon information and belief, in conjunction with the other Defendants,

  Clover Holdings owns and operates Sex.com, an Internet web site that displays and distributes adult

  oriented videos, photographs, content, and services.

         4.      Defendant Frederic Valiquette is a resident of Montreal, Canada. Upon information

  and belief, Defendant Valiquette directs, controls, and/or assists in determining the content on

  Sex.com.

          5.     Defendants registered the domain Sex.com through the registrar Network Solutions,

  LLC, a company located in Jacksonville, Florida. By entering into an agreement with Network

  Solutions, LLC, Defendants agreed to jurisdiction in the State of Florida regarding any actions or

  obligations pertaining to the website.

          6.     Defendants utilize Perfect Privacy LLC, a Florida company, to protect the identity of

  the owners and/or operators of Sex.com.

          7.     Defendants have availed themselves of the trademark laws of the United States,

  seeking protection of the mark "sex.com" through registration at the United States Trademark

  Office, Registration Number 75448953.

          8.     Defendants have further availed themselves of the intellectual property laws of the

   United States, registering as an Internet Service Provider with the United States Copyright Office




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    and seeking protections against copyright infringement liability through DMCA safe harbor

    protections.

            9.      Defendants contract with United States advertisers, which use geotracking to target

    advertisements directly into districts of the United States, including Florida.

            10.     Defendants specifically target Internet users in the United States. Defendants overtly

    state that 25% of its viewers are in the United States. Upon information and belief; over 40% of

    Sex.com's viewers are in the United States.

            11.     Upon information and belief, the Defendants all transact business in this Judicial

    District by way of their interactive website and through their interactivity with subscription based

    and non-subscription based Florida members who have been offered the infringing and unlawful

    content at issue herein and who have, themselves, engaged in acts of infringement in this District

    and State. The Court has personal jurisdiction over the Defendants, who have engaged in business

    activities in and directed to this district, and have committed tortious acts within this district or

    directed at this district.

            12.     The Court has personal jurisdiction over the Defendants, foreign companies and

    individuals who have engaged in business activities in and directed to the United States and this

    district, and have committed tortious acts within the United States and this district or directed at the

    United States and this district.

            13.      Any alien defendant is subject to jurisdiction in any district. See 28 U.S.C. 1391

    ("An alien may be sued in any district.") See also Fed. R. Civ. P. 4(k)(2).

            14.      This Court has subject matter jurisdiction over Plaintiff's federal claims pursuant to

    17 U.S.C. § 101 et seq., Section 32 of the Lanham Act, 15 U.S.C. §1114(1), 15 U.S.C. § 1121, 15

    U.S.C. §1125, 28 U.S.C. §1331 and 28 U.S.C. §1338.




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            15.     Venue is appropriate in this District pursuant to 28 U.S.C. § 1391(b) and/or (c).

            16.     This Court has personal jurisdiction pursuant to 28 U.S.C. §§ 1391(b), (c) and/or (d)

     and 28 U.S.C. § 1400(a).


                                                   PARTIES

            17.     The named Plaintiff is the rightful trademark and intellectual property owner of the

     respective United States trademarks and intellectual property that are the basis for this action.

            18.     Plaintiff, more commonly known as the MetArt Network of adult entertainment

     properties, is a group of erotic websites that explore and deliver sensuality and sexuality through

     artistic photography, video, erotic stories, and through articles about beauty, culture, and nudity.

     These websites include MetArt.com, SexArt.com, Errotica-Archives.com, EroticBeauty.com,

     TheLifeErotic.com, RylskyArt.com, MichealNinn.com, ALSScan.com, VivThomas.com,

     EtemalDesire . corn, Stunning18 corn, Ho llyRandall. coin, domai. com, goddessnudes .com,

     MagikSex.com, and bbfilms.com.

            19.     Since 1999, Plaintiff has grown its trademark brands into a globally recognized

     leader of          art garnering numerous industry awards through the use of studios around the

     globe, exotic locations, high budget productions, engaging storylines, famed photographers and

     directors coupled with the dedication from its artists and technicians.

            20.     The MetArt library is comprised of exclusive content that features over 5000 models

     shot by 250 photographers/directors including such notables as Vivian Thomas and the late Zalman

     King, who also brought Hollywood films such as Wild Orchid, Two Moon Junction, 9 1/2 Weeks,

     and the Showtime network groundbreaking series Red Shoes Diaries.

            21.     The MetArt websites are paid membership sites.




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            22.      MetArt engages in extremely limited licensing of its content to other entities or

    web sites for viewing, in addition to the small sample of promotional materials provided to MetArt

    affiliates for the sole purpose of the affiliates' promoting MetArt property.

            23.      Any licensing is done with the intent for brand exposure and is limited to a small

    subset of hand-selected content. Predominantly, the MetArt business model is simply that a user

    must be a paid member to a MetArt site to view MetArt's works.

            24.      Plaintiff is the respective producer, distributor, and exclusive licensor of its own

    motion pictures in the United States as well as throughout the world.

            25.      Plaintiff has registered with the United States Copyright Office the copyrighted

    works identified in this Complaint.

            26.      Plaintiff has taken industry standard steps to identify its products, including placing

    recorded warnings at the beginning and end of video productions that appear whenever those videos

    are played. Plaintiff's videos and photographs are watermarked with Plaintiff's readily identifiable

    logo.

            27.      Plaintiff's MetArt trademark and service mark have been continuously used in

    commerce since May 2002.

            28.      U.S. Trademark Registration No. 3152759 was registered on October 10, 2006.

            29.      Plaintiff has expended considerable effort and expense in promoting its trademark

    and the goods sold under the trademark MetArt. As a result, the purchasing public has come to

    know, rely upon and recognize the mark MetArt as an international brand of high quality adult

    entertainment.

            30.      Plaintiff's SexArt trademark and service mark have been continuously used in

    commerce since April 2011.




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           31.      U.S. Trademark Registration No. 4191754 was registered on August 14,2012.

           32.      Plaintiff has expended considerable effort and expense in promoting its trademark

   and the goods sold under the trademark SexArt. As a result, the purchasing public has come to

   know, rely upon and recognize the mark SexArt as an international brand of high quality adult

   entertainment.

           33.      Defendants Maximum Apps Inc. and Clover Holdings Limited Partnership are

    owners and/or operators of Sex.com and/or doing business as Sex.com.

           34.      Defendant Valiquette is one of the directors and/or executives of the companies and

    directs, controls, and/or assists in determining the content on Sex.com.

           35.      Defendants conduct business as Sex.com, operate the website, and derive direct

    financial benefit through advertising sales, memberships, and affiliate partnerships on the website.

           36.      Defendants compete against Plaintiff in the distribution, display, and sale of adults-

    only audio-visual works through Internet distribution and divert potential customers from Plaintiff.

           37.      Does 1-20 are individuals or entities that own Sex.com, and/or act in concert with

    Sex.com, the true names and capacities of which are presently unknown to Plaintiff. It is for that

    reason Plaintiff sues these Defendants by fictitious names. Plaintiff avers that each of the Doe

    defendants, along with the named defendants, jointly or severally, is responsible for the

    damages alleged herein.


                                             STATEMENT OF FACTS

           38.      Congress' implementation of safe harbor provisions in the Digital Millennium

    Copyright Act ("DMCA") provides true internet service providers with protection against liability

    for copyright infringement resulting from the actions and/or postings of their users. As a primary




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    example, the safe harbor protections provide YouTube.com with protection from liability should

    one of its users post a copyright protected video without authority or license.

           39.     The DMCA safe harbor provisions have been systematically abused by Internet

    copyright infringers in an attempt to garner protection for pirate websites displaying copyrighted

    adult entertainment content without license or authority for free viewing by the public. Commonly,

    these websites attract Internet user attention through the combination of offering free viewing of

    copyrighted materials and the unauthorized use of trademarks, providing the user a road to the free

    website through the use of these marks.

           40.     Sex.com is such a pirate website, displaying copyrighted adult entertainment content

    and utilizing trademarks without authorization in order to attract users, and distract them from the

    trademark owners' services for financial gain.

           41.     The mere act of registering as an Internet Service Provider with the United States

    Copyright Office does not, by itself, render a web site to be an Internet Service Provider.

           42.     Sex.com is not a true Internet Service Provider.

           43.     Defendants host adult entertainment photographs and videos and/or host embedded

    code for adult entertainment photographs and videos to permit a user to view the photographs and

    videos on Sex.com for free.

           44.     Based upon information and belief, Defendants' source and place Plaintiff's

    copyrighted adult entertainment on their website.

           45.     Under the videos displayed on sex.com for free viewing, Defendants present

    alternative viewing options with buttons that state "HD," "MOV," "WMV/AVI," "HDFLASH," and

    "DOWNLOAD" along with a description of the video, category and other defining items. The




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     experience clearly indicates to a user that these buttons will enable the user to watch the particular

     video in high-definition, download the video, or other format.

             46.    If the user clicks any of these buttons, the user is taken to hd.sex.com and prompted

     to join a membership with a credit card. While the membership is presented as free, signing up

     agrees to subsequent recurring charges to the users credit card unless overt actions are taken by the

     user.

             47.     The initial video is not, thereafter, made available to the user for high definition

     viewing, download, or formatted for a mobile device. Rather, the initial video was used purely to

     entice the user to join the premium program. The initial video is used by the Defendants to gain a

     direct financial benefit.

             48.     Defendants sell advertising space on Sex.com in several forms, including front load

     pop-up advertising and advertising banners on space in close proximity to free videos, often

     geocentric.

             49.     Defendants derive additional revenue from "click through" affiliate relationships

     with other web properties. Defendants are paid based on the number of users who click on

     Plaintiff's copyrighted works to arrive at another web property.

             50.     Defendants promote Sex.com as the "Pinterest for Porn."

             51.     Defendants automatically repost works posted on Sex.com. For instance, the work is

     distributed by Defendants through Twitter.

             52.     Defendants have infringed Plaintiff's registered trademarks.

             53.     For Plaintiff's videos and photographs that are displayed without authority on

     Sex.com, the Defendants have caused Plaintiff's trademarks to be used in the meta tags and/or meta

     descriptions for the URL of the infringing video.




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            54.     A meta tag is an HTML (hypertext markup language) code embedded on a Web page

    that is used by the website owner to identify the site content. Meta tags are powerful tools because

    they have a direct effect on the frequency with which many search engines will find a website.

            55.     Meta tags and/or meta descriptions are used by Internet search engines as an

    indexing tool to determine which web sites correspond to search terms provided by a user.

            56.     Meta tags do not affect the appearance of a website and are not visible when one

    looks at a Web page, but they provide information regarding the content of the site.

            57.     Some websites use meta tags in a deceptive manner to lure Web surfers. Instead of

    using terms that properly describe the site, some programmers substitute the names of competing

    companies. For example, a rival shoe manufacturer may bury the meta tag "Nike" in its Web page

    to lure Web surfers searching for Nike products. In the case of the website selling handmade

    watches, the meta tag might include "Rolex, Swatch, Bulova, Cartier," or the like.

            58.     By using Plaintiff's trademarks in Defendants' meta tags and/or meta descriptions,

    Defendants use Plaintiff's trademarks in commerce and in connection with their promotions, sales,

    and advertising.

            59.     The use of Plaintiff's trademarks in Defendants' meta tags and/or meta descriptions

     causes confusion to the end users/consumers.

            60.     For example, for many of the videos displayed without authority or license on

     Sextvx.com, "SexArt," a Plaintiff trademark, is included in the meta tags and/or meta description.

     Therefore, a user utilizing an internet search engine searching for "SexArt" will discover that

     Plaintiff's videos can be viewed for free on Sex.com. This will and does create confusion on behalf

     of the user that Sex.com is an authorized distributor of Plaintiff's videos and, importantly, instills a

     belief that Plaintiff's videos are available for free viewing. This also directly steals a paying




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    customer from Plaintiff and redirects them to Defendants' site to the direct and sole benefit of

    Defendants.

            61.    In or about March 2015, and for an unknown time prior and up to the present,

    Defendants' website Sex.com utilized Plaintiff's trademark "MetArt" in the meta data for 833

    separate and distinct URLs connected to Sex.com, each displaying a separate and distinct copyright

    work belonging to Plaintiff. These web pages, each containing Plaintiff's trademark in the meta

    data, are listed in Exhibit A. At no time did Defendants have any authority or license to utilize

    Plaintiff's trademark.

            62.    In or about March 2015, and for an unknown time prior and up to the present,

    Defendants' website Sex.com utilized Plaintiff's trademark "Sexart" in the meta data for 824

    separate and distinct URLs connected to Sex.com, each displaying a separate and distinct copyright

    work belonging to Plaintiff. These web pages, each containing Plaintiff's trademark in the meta

    data, are listed in Exhibit B. At no time did Defendants have any authority or license to utilize

    Plaintiff's trademark.

            63.    Defendants placed an active sex.com link on the videos displayed on sex.com.

    Therefore, if a user were to take the video and display it anywhere else on the Internet, this link will

    direct any subsequent viewers to sex.com.

            64.    In or about March 2015, and for an unknown time before and up to the present,

     Defendants' website Sex.com displayed Plaintiff's copyright registered works over 1,657 separate

    and distinct URLs - each a part of Sex.com. At no time did Defendants have any authority or

     license to display or distribute any portion of Plaintiff's copyrighted works. These works are

     purported by Defendants to have been uploaded by third party Internet users.




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           65.     On or about March 20, 2015, Plaintiff delivered to Defendants DMCA compliant

    take down notices for each of Plaintiff's copyright registered works displayed on Sex.com and cease

    and desist demands for each URL utilizing Plaintiff's trademarks.

           66.     Two months after receipt of the take down notices and cease and desist demands,

    Defendants wholly failed and refused to disable 39 of Plaintiff's copyright registered works. These

    copyrighted works and their corresponding Sex.com page are listed in Exhibit C, attached hereto.

           67.     Each of these works is currently (as of the date of this Complaint) displayed on

    Sex.com precisely as complained of in the DMCA take down notices. These works are

    continuously displayed in violation of Plaintiff's copyrights and with the Defendants' specific

    knowledge.

           68.     Further, each is displayed with the use of Plaintiff's trademarks in the meta data

    specific to each work, thereby enabling an Internet user to locate the infringing work through an

    Internet search for Plaintiff's works.

           69.     Within four months after receipt of the take down notices and cease and desist

    demands, Defendants have maintained public display of 39 of Plaintiff's copyright registered works

    while having amended the naming convention of each work, deleting Plaintiff's trademarks from

    the URL. The links for these works were the subject of take down notices and cease and desist

    demands. Defendants modified the links by omitting Plaintiff's trademarks, but continued to

    display the works in violation of Plaintiff's copyrights. Such egregious behavior can only be for

    purpose of continuing to display and benefit from Plaintiff's works without obvious detection

    through search engines. Such action by the Defendants evidences their continuing willful and

    knowing infringement of Plaintiff's copyright registered works.
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           70.     While Defendants have removed Plaintiff's trademarks from the infringing URLs,

    Defendants have not ceased the use of Plaintiff's trademarks for purposes of search engines. A

    search for Sexart or MetArt continues to result in location of the infringing works on Sex.com.

           71.     On Sex.com, under the sites "Terms of Use," Defendants claim to have a copyright

    policy regarding repeat infringers. The policy states as follows:


                   "Copyright Policy

                   Sex.com adheres to copyright law and expects its users to do the same.
                   Sex.com has adopted and implemented a policy that provides for the
                   termination, in appropriate circumstances, of registered users or other
                   account holders who repeatedly infringe or are believed to be repeatedly
                   infringing the rights of copyright holders. Please see Sex.com's Copyright
                   Policy at: http://www.sex.com/about/terrns for further information."

           72.     However, the link presented for "further information" is the exact same web page

    upon which this language is displayed. Thus, there is no "further information" and Defendants fail

    to inform its users of the supposed repeat infringer policy implemented on Sex.com. Most notably,

    the users of Sex.com are not notified of the number of infringer allegations, which will result in the

    termination of their account with Sex.com.

           73.     Defendants have failed to effectively and/or practically implement a reasonable

    repeat infringer policy on Sex.com. The 1,657 works that were subject to DMCA take down notices

    were posted by a total of 159 Sex.com users/uploaders, each with multiple postings in access of any

    reasonable repeat infringer policy. Of these 159 users, 51 users are still currently active on

    Sex.com. The 159 users are listed in Exhibit D, and the 44 still currently active users are listed in

    Exhibit E.

           74.     The fact that approximately one third of users with repeat infringements noticed to

    Defendants are still active is evidence that Defendants have failed to properly implement a




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    reasonable repeat infringer policy. The number of notices these users were subject to, yet not

    terminated, is egregious. For example:

           a. Sex.com user "TheBabesgalore" was the subject of 101 separate and distinct DMCA

                 take down notices. "TheBabesgalore" was not terminated as a user/posted on Sex.com.

                 While these 101 works were disabled subject to the take down notices,

                 "TheBabesgalore" has since posted 20 Plaintiff's works in violation of Plaintiff's

                 copyrights. "TheBabesgalore" currently has 8,735 pins on Sex.com.

           b. Sex.com user "Tessa-Mondavi" was the subject of 20 separate and distinct DMCA take

                 down notices. "Tessa-Mondavi" was not terminated as a user/posted on Sex.com. While

                 these 20 works were disabled subject to the take down notices, "Tessa-Mondavi" has

                 since posted 45 Plaintiff's works in violation of Plaintiffs copyrights. "Tessa-Mondavi"

                 currently has 2,093 pins on Sex.com.

           c. Sex.com user "HGB007" was the subject of 54 separate and distinct DMCA take down

                 notices. "HGB007" was not terminated as a user/posted on Sex.com. While these 54

                 works were disabled subject to the take down notices, "HGB007" has since posted 51

                 Plaintiffs works in violation of Plaintiff's copyrights. "HGB007" currently has 7,053

                 pins on Sex.com.

           75.      The number of distinct and separate DMCA take down notices, advising Defendants

    of separate infringements, for these users/posters which were not then terminated is beyond any

    reasonable repeat infringer policy. (For instance, it is not uncommon for repeat infringer policies to

    mandate termination after 3 such notices.)

           76.      The number of users/posters on Sex.com that have been permitted to continue to post

    on Sex.com after clearly violating any reasonable repeat infringer policy evidences that Defendants'




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   failure to terminate these users is not mere inadvertence or excusable neglect. Rather, the failure to

   terminate these users, given both the number of users that were not terminated and the number of

   infringements posted by each user, evidences Defendants' failure to adequately, reasonably,

   effectively, and practically implement a repeat infringer policy.

          77.     Defendants' failures to properly respond to take down notices and to implement a

   reasonable repeat infringer policy makes it virtually impossible for Plaintiff to police infringement

   of Plaintiff's works on Sex.com. While Plaintiff noticed Defendants about infringements on

   Sex.com, Defendants fail to consistently and reasonably disable the display of the works and

   Defendants permit repeat infringers to continue posting on Sex.com — including further

   unauthorized postings of Plaintiff's works. Plaintiff cannot effectively thwart the piracy of its

   copyrighted works on Sex.com by use of the tools provided under the DMCA.

          78.     Defendants' failure to be a true Internet Service Provider, failure to properly and

   reasonably respond to DMCA take down notices, and failure to implement a reasonable repeat

   infringer policy, individually and collectively, destroys any protection Defendants may seek under

   the DMCA safe harbor provisions.

          79.     All conditions precedent to the filing of this lawsuit have been met, satisfied or

   waived.


                                                COUNT I
                             Trademark Infringement — 15 U.S.C. §§ 1111 et. seq.
                                          Against All Defendants

          80.     Plaintiff repeats, re-alleges, and incorporates by reference paragraphs I through 79

   above and further states that:




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              81.   By virtue of its trademark registrations, Plaintiff has the exclusive right to use of the

    trademarks, trade dress and service marks enumerated in this Complaint in the adult-oriented audio-

    visual markets, including Internet markets.

              82.   Defendants' use of Plaintiff's registered trademarks and service marks is in a manner

    likely to cause consumer confusion, as alleged herein, constitutes trademark infringement pursuant

    to 15 U.S.C. § 1114.

              83.   Defendants' infringement is intentional and willful, has caused and will continue to

    cause damage to Plaintiff in an amount to be proven at trial, and is causing irreparable harm to

    Plaintiff for which there is no adequate remedy at law, thus Plaintiff is entitled to statutory and

    treble damages.


              WHEREFORE, Plaintiff, Hydentra HLP Int. Limited, d/b/a MetArt, requests the following

    relief:

              A..   Enter judgment against Defendants finding that Defendants have engaged in, and

                    continue to engage in, unfair competition in violation of 15 U.S.C. § 1125(a);

              B.    Finding that Defendants have and continue to infringe Plaintiff's '3152759

                    trademark in violation of 15 U.S.C. § 1114;

              C.     Finding that Defendants have and continue to infringe Plaintiff's '4191754

                     trademark in violation of 15 U.S.C. § 1114;

              D.     That Defendants, their agents, servants, officers, directors, employees, attorneys,

                    privies, representatives, successors and assigns and parent and subsidiary

                    corporations or other related entities, and any or all persons in act of concert or

                    participation with any of them, be preliminarily and permanently enjoined from:




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                        (1)    Any and all reproduction, adaptation, public display and/or

                        distribution of copies of the Plaintiff's copyrighted works by Defendants on

                        any website, including but not limited to Sex.com;

                        (2)    Permitting any user to upload for reproduction, adaptation, public

                        display and/or distribution of copies of the Plaintiff's copyrighted works by

                        Defendants on any website, including but not limited to Sex.com; and

                        (3)    Marketing or selling any product containing or utilizing Plaintiff's

                        intellectual property or business values.

          E.    That Defendants be ordered to file with the Court and serve upon Plaintiff, within

                thirty (30) days after the entry of an injunction, a report in writing and under oath,

                setting forth in detail the manner and form in which Defendants have complied with

                any ordered injunction;

          F.    That pursuant to 15 U.S.C. § 1117, Defendants be held liable for all damages

                suffered by Plaintiff resulting from the acts alleged herein;

          G.    That Defendants be ordered to transfer the domain Sex.com, and all similar domains

                held by Defendants found in discovery, such as misspellings of the enumerated

                domains, domains held by Defendants linked to Sex.com, and the content therein to

                Plaintiff.

          H.    That Plaintiff be awarded damages in an amount to be determined at trial for all

                infringing activities, including Plaintiff's damages and lost profits, Defendants'

                profits, plus any costs incurred in preventing future confusion, mistake or deception,

                all from the date of first infringement;




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           I.      That pursuant to 15 U.S.C. § 1117 Defendants be ordered to account to Plaintiff for

                   all profits, gains and advantages which they have realized as a consequence of their

                   unauthorized use of Plaintiff's copyrighted works;

           J.      That the Court declare this to be an exceptional case and award Plaintiff's reasonable

                   attorney fees pursuant to 15 U.S.C. § 1117;

           K.      Thai Plaintiff be awarded enhanced damages and attorney's fees;

           L.      For all other damages to the extent permitted by law;

           M.      Ordering that this Court retain jurisdiction of this action for the purpose of enabling

                   Plaintiff to apply to the Court at any time for such further orders and interpretation or

                   execution of any order entered in this action; for the modification of any such order;

                   for the enforcement or compliance therewith; or for the punishment of any violations

                   thereof; and

           N.      Such other and further preliminary and permanent relief be awarded to Plaintiff as

                   the Court deems appropriate.


                                                COUNT II
                       Contributory Trademark Infringement — 15 U.S.C. §§ 1111 et. seq.
                                          Against All Defendants

           84.     Plaintiff repeats, re-alleges, and incorporates by reference paragraphs 1 through 79

    above and further states that:

           85.     By virtue of its trademark registrations, Plaintiff has the exclusive right to use of the

    trademarks, trade dress and service marks enumerated in this Complaint in the adult-oriented audio-

    visual markets, including Internet markets.




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              86.   Defendants' actions that encouraged use of Plaintiff's registered trademarks and

    service marks in manners likely to cause consumer confusion, as alleged herein, constitutes

    trademark infringement pursuant to 15 U.S.C. § 1114.

              87.   Defendants' infringement is intentional and willful, has caused and will continue to

    cause damage to Plaintiff in an amount to be proven at trial, and is causing irreparable harm to

    Plaintiff for which there is no adequate remedy at law, thus Plaintiff is entitled to statutory and

    treble damages.


              WHEREFORE, Plaintiff, Hydentra HLP Int. Limited, d/b/a MetArt, requests the following

    relief:

              A.    Enter judgment against Defendants finding that Defendants have engaged in, and

                    continue to engage in, unfair competition in violation of 15 U.S.C. § 1125(a);

              B.    Finding that Defendants have and continue to infringe Plaintiff's '3152759

                    trademark in violation of 15 U.S.C. § 1114;

              C.    Finding that Defendants have and continue to infringe Plaintiff's '4191754

                    trademark in violation of 15 U.S.C. § 1114;

              D.     That Defendants, their agents, servants, officers, directors, employees, attorneys,

                    privies, representatives, successors and assigns and parent and subsidiary

                    corporations or other related entities, and any or all persons in act of concert or

                    participation with any of them, be preliminarily and permanently enjoined from:


                            (1)    Any and all reproduction, adaptation, public display and/or

                            distribution of copies of the Plaintiff's copyrighted works by Defendants on

                            any website, including but not limited to Sex.com;




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                        (2)     Permitting any user to upload for reproduction, adaptation, public

                        display and/or distribution of copies of the Plaintiff's copyrighted works by

                        Defendants on any website, including but not limited to Sex.com; and

                        (3)     Marketing or selling any product containing or utilizing Plaintiffs

                        intellectual property or business values.

          E.   That Defendants be ordered to file with the Court and serve upon Plaintiff, within

               thirty (30) days after the entry of an injunction, a report in writing and under oath,

               setting forth in detail the manner and form in which Defendants have complied with

               any ordered injunction;

          F.   That pursuant to 15 U.S.C. § 1117, Defendants be held liable for all damages

                suffered by Plaintiff resulting from the acts alleged herein;

          G.    That Defendants be ordered to transfer the domain Sex.com, and all similar domains

                held by Defendants found in discovery, such as misspellings of the enumerated

                domains, domains held by Defendants linked to www.sex.com, and the content

                therein to Plaintiff.

          H.    That Plaintiff's be awarded damages in an amount to be determined at trial for all

                infringing activities, including Plaintiff's damages and lost profits, Defendants'

                profits, plus any costs incurred in preventing future confusion, mistake or deception,

                all from the date of first infringement;

          I.    That pursuant to 15 U.S.C. § 1117, Defendants be ordered to account to Plaintiff for

                all profits, gains and advantages which they have realized as a consequence of their

                unauthorized use of Plaintiffs copyrighted works;




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             J.      That the Court declare this to be an exceptional case and award Plaintiff reasonable

                     attorney fees pursuant to 15 U.S.C. § 1117;

             K.      That Plaintiff be awarded enhanced damages and attorney's fees;

             L.      For all other damages to the extent permitted by law;

             M.      Ordering that this Court retain jurisdiction of this action for the purpose of enabling

                     Plaintiff to apply to the Court at any time for such further orders and interpretation or

                     execution of any order entered in this action; for the modification of any such order;

                     for the enforcement or compliance therewith; or for the punishment of any violations

                     thereof; and

             N.      Such other and further preliminary and permanent relief be awarded to Plaintiff as

                     the Court deems appropriate.


                                                    COUNT III
                   False Designation of Origin under the Lanham Act — 15 U.S.C. §§ 1125 et. seq.
                                              Against All Defendants

             88.     Plaintiff repeats, re-alleges, and incorporates by reference paragraphs 1 through 79

      above and further states that:

             89.     Upon information and belief, Defendants' conduct is likely to cause confusion,

      mistake or deception as to Defendants' affiliations, connection, or association with Plaintiff, or as to

      the origin, sponsorship or approval of their goods or commercial activities.

             90.     Defendants' conduct as alleged herein, including but not necessarily limited to their

      use of Plaintiff's marks, constitutes false designation of origin pursuant to 15 U.S.C. § 1125(a).

             91.     Plaintiff has been damaged by these acts in an amount to be proven at trial. Plaintiff

      is also entitled under the Lanham Act to injunctive and equitable relief against Defendants.




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               WHEREFORE, Plaintiff, Hydentra HLP Int. Limited, d/b/a MetArt, requests the following

     relief:

               A.    Enter judgment against Defendants finding that Defendants have engaged in, and

                     continue to engage in, unfair competition in violation of 15 U.S.C. § 1125(a);

               B.    Finding that Defendants have and continue to infringe Plaintiff's '3152759

                     trklemark in violation of 15 U.S.C. § 1114;

               C.    Finding that Defendants have and continue to infringe Plaintiff's '4191754

                     trademark in violation of 15 U.S.C. § 1114;

               D.    That Defendants, their agents, servants, officers, directors, employees, attorneys,

                     privies, representatives, successors and assigns and parent and subsidiary

                     corporations or other related entities, and any or all persons in act of concert or

                      participation with any of them, be preliminarily and permanently enjoined from:


                             (1)     Any and all reproduction, adaptation, public display and/or

                             distribution of copies of the Plaintiff's copyrighted works by Defendants on

                             any website, including but not limited to Sex.com;

                              (2)    Permitting any user to upload for reproduction, adaptation, public

                             display and/or distribution of copies of the Plaintiff's copyrighted works by

                             Defendants on any website, including but not limited to Sex.com; and

                             (3)     Marketing or selling any product containing or utilizing Plaintiff's

                             intellectual property or business values.

               E.     That Defendants be ordered to file with the Court and serve upon Plaintiff, within

                      thirty (30) days after the entry of an injunction, a report in writing and under oath,




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                 setting forth in detail the manner and form in which Defendants have complied with

                 any ordered injunction;

           F.    That pursuant to 15 U.S.C. § 1117, Defendants be held liable for all damages

                 suffered by Plaintiff resulting from the acts alleged herein;

           G.    That Defendants be ordered to transfer the domain Sex.com, and all similar domains

                 held by Defendants found in discovery, such as misspellings of the enumerated

                 domains, domains held by Defendants linked to www.sex.com, and the content

                 therein to Plaintiff.

           H.    That Plaintiff be awarded damages in an amount to be determined at trial for all

                 infringing activities, including Plaintiff's damages and lost profits, Defendants'

                 profits, plus any costs incurred in preventing future confusion, mistake or deception,

                 all from the date of first infringement;

           I.    That pursuant to 15 U.S.C. § 1117, Defendants be ordered to account to Plaintiff for

                 all profits, gains and advantages which they have realized as a consequence of their

                 unauthorized use of Plaintiff's copyrighted works;

           J.    That the Court declare this to be an exceptional case and award Plaintiff reasonable

                 attorney fees pursuant to 15 U.S.C. § 1117;

           K.    That Plaintiff be awarded enhanced damages and attorney's fees;

           L.    For all other damages to the extent permitted by law;

           M.    Ordering that this Court retain jurisdiction of this action for the purpose of enabling

                 Plaintiff to apply to the Court at any time for such further orders and interpretation or

                 execution of any order entered in this action; for the modification of any such order;




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                     for the enforcement or compliance therewith; or for the punishment of any violations

                     thereof; and

             N.      Such other and further preliminary and permanent relief be awarded to Plaintiff as

                     the Court deems appropriate.


                                                     COUNT IV
                                    Copyright Infringement 17 U.S.C. §§ 101 et. seg.
                                               Against All Defendants


             92.     Plaintiff repeats, re-alleges, and incorporates by reference paragraphs 1 through 79

      above and further states that:

             93.     Plaintiff holds the copyright on each of the infringed works alleged herein.

             94.     Plaintiff registered each copyright with the United States Copyright Office.

             95.     At all pertinent times, Plaintiff is the producer and registered owner of the

      audiovisual works illegally and improperly reproduced and distributed by Defendants.

             96.     Defendants copied, reproduced, reformatted, and distributed Plaintiff's copyrighted

      works by and through servers and/or hardware owned, operated and/or controlled by Defendants.

             97.     Defendants did not have authority or license to copy and/or display Plaintiff's

      original works.

             98.     Defendants infringed Plaintiff's copyrighted works by reproducing and distributing

      works through Defendants' website without property approval, authorization, or license of Plaintiff.

             99.     Defendants knew or reasonably should have known they did not have permission to

      exploit Plaintiffs' works on Motherless.com and further knew or should have known their acts

      constituted copyright infringement.




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            100.    Defendants made no attempt to discover the copyright owners of the pirated works

     before exploiting them. Defendants failed and refused to take any reasonable measure to determine

     the owner or license holder of the copyrighted works.

            101.    Defendants engaged in intentional, knowing, negligent, or willfully blind conduct

     sufficient to demonstrate they engaged actively in the improper collection and distribution of

     Plaintiff's copyrighted works.

            102.    The quantity and quality of copyright files available to Internet users increased the

     attractiveness of Defendants' service to its customers, increased its membership base, and increased

     its ad sales revenue.

            103.    Based on information and belief, Defendants actively uploaded pirated

     copyrighted files and/or embedded code, enabling users of Motherless.com to view copyrighted

     videos and images for free.

            104.    Defendants controlled the files owned by Plaintiff and determined which files

     remained for display and distribution.

            105.    Defendants never adopted procedures to ensure that distribution of Plaintiff's

     copyrighted materials would not occur. Further, Defendants never implemented or enforced a

     "repeat infringer" policy.

            106.    Defendants either were aware, actually or constructively, should have been aware, or

     were willfully blind that pirated copyrighted materials comprised the most popular videos on

     the Defendants websites.

             107.   Defendants, through Motherless.com, affirmatively and willfully accommodated

     Internet traffic generated by the illegal acts.




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               108. Defendants' conduct was willful within the meaning of 17 U.S.C. § 101, et seq. At a

    minimum, Defendants acted with willful blindness and reckless disregard of Plaintiff's

    registered copyrights.

               109. Because of their wrongful conduct, Defendants are liable to Plaintiff for copyright

    infringement. See 17 U.S.C. §501. Plaintiff suffers and will continue to suffer substantial

    losses, including, but not limited to, damage to its business reputation and goodwill.

               110. The law permits Plaintiff to recover damages, including readily ascertainable direct

    losses and all profits Defendants made by their wrongful conduct. 17 U.S.C. §504.

    Alternatively, the law permits Plaintiff to recover statutory damages. 17 U.S.C. §504(c).

               111. Because of Defendants' willful infringement, the law permits enhancement of

     the allowable statutory damages. 17 U.S.C. §504(c) (2).

               112. The law permits Plaintiff injunctive relief. 17 U.S.C. §502. Further, the law

    permits a Court Order impounding any and all infringing materials. 17 U.S.C. §503.


               WHEREFORE, Plaintiff, Hydentra HLP Int. Limited, d/b/a MetArt, requests the following

     relief:

               A.     That Defendants, their agents, servants, officers, directors, employees, attorneys,

     privies, representatives, successors and assigns and parent and subsidiary corporations or other

     related entities, and any or all persons in act of concert or participation with any of them, be

     preliminarily and permanently enjoined from:

                      (1)    Any and all reproduction, adaptation, public display and/or distribution of

                      copies of the Plaintiff's copyrighted works by Defendants on any website, including

                      but not limited to Sex.com;




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                     (2)    Permitting any user to upload for reproduction, adaptation, public display

                     and/or distribution of copies of the Plaintiff s copyrighted works by Defendants on

                     any website, including but not limited to Sex.com; and

                     (3)    Marketing or selling any product containing or utilizing Plaintiff's

                     intellectual property or business values.

            B.       That Defendants be ordered to transfer the domain Sex.com, and all similar domains

     held by Defendants found in discovery, such as misspellings of the enumerated domains, domains

     held by Defendants linked to www.sex.com, and the content therein to Plaintiff.

            C.       That Defendants be ordered to file with the Court and serve upon Plaintiff, within

     thirty (30) days after the entry of an injunction, a report in writing and under oath, setting forth in

     detail the manner and form in which Defendants have complied with any ordered injunction;

            D.       That Plaintiff be awarded damages in an amount to be determined at trial for all

     infringing activities, including Plaintiffs damages and lost profits, Defendants' profits, plus any

     costs incurred in preventing future confusion, mistake or deception, all from the date of first

     infringement;

            E.       That Defendants pay Plaintiff a sum sufficient to cover the cost of corrective

      advertising necessary to alleviate any existing or lingering confusion resulting from Defendants'

      unauthorized use of Plaintiff's trade dress and terms;

             F.      That Defendants be ordered to account to Plaintiff for all profits, gains and

     advantages that they have realized as a consequence of their unauthorized use of Plaintiffs

     copyrighted works;

             G.      That Plaintiff be awarded enhanced damages and attorney's fees;

             H.      That Plaintiff be awarded pre judgment and post judgment interest;




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           I.      That Plaintiff be awarded costs and expenses incurred in prosecuting this action,

    including expert witness fees; and

           J.      That such other and further preliminary and permanent relief be awarded to Plaintiff

    as the Court deems appropriate.


                                                  COUNT V
                                      Contributory Copyright Infringement
                                            Against All Defendants

           113.    Plaintiff repeats, re-alleges, and incorporates by reference paragraphs 1 through 79

    above and further states that:

           114.    Unknown individuals, without authorization, reproduced and distributed Plaintiff's

    works through Defendants' websites, directly infringing Plaintiff's copyrighted works.

           115.    Defendants contributed to the infringing acts of those individuals.

           116.    Defendants were aware, should have been aware, or were willfully blind to the

    infringing activity.

           117.    Defendants aided, abetted, allowed, and encouraged those individuals to reproduce

    and distribute Plaintiff's copyrighted works through Defendants' website without regard to

    copyright ownership.

            118.    Defendants had the ability and obligation to control and stop the infringements.

    Defendants failed to do so.

            119.    Defendants have engaged in the business of knowingly inducing, causing, and/or

    materially contributing to unauthorized reproduction, adaptation, public display and/or distribution

    of copies of the Plaintiff's copyrighted works, and thus to the direct infringement of Plaintiff's

    copyrighted works.

            120.    Defendants received direct financial benefits from the infringements.




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                121.   On information and belief, Defendants' actions constitute contributory infringement

      of Plaintiff's copyrights and exclusive rights under copyright in the Plaintiff's copyrighted works in

      violation of the Copyright Act, 17 U.S.C. §§ 106 and 501.

                122.   The unauthorized reproduction, distribution, and public display of Plaintiff's

      copyrighted works that Defendant enables, causes, materially contributes to and encourages through

      the acts described above are without Plaintiff's consent and are not otherwise permissible under the

      Copyright Act.

                123.   The acts of infringement by Defendants have been willful, intentional, and

      purposeful and in reckless disregard of and with indifference to Plaintiff's rights.

                124.   As a direct and proximate result of the infringements by Defendants of Plaintiff's

      copyrights and exclusive rights under copyright in the Plaintiff's copyrighted works, Plaintiff is

      entitled to its actual damages and Defendants' profits pursuant to 17 U.S.C. § 504(b).

                125.   Alternatively, Plaintiff is entitled to maximum statutory damages, pursuant to 17

      U.S.C. § 504(c), in the amount of $150,000 with respect to each work infringed, or such other

      amounts as may be proper under 17 U.S.C. § 504(c ).

                126.   Plaintiff is further entitled to their attorneys' fees and full costs pursuant to 17 U.S.C.

      § 505.


                WHEREFORE, Plaintiff, Hydentra HLP Int. Limited, dibia MetArt, requests the following

      relief:

                A.     That Defendants, their agents, servants, officers, directors, employees, attorneys,

      privies, representatives, successors and assigns and parent and subsidiary corporations or other

      related entities, and any or all persons in act of concert or participation with any of them, be

      preliminarily and permanently enjoined from:




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                   (1)    Any and all reproduction, adaptation, public display and/or distribution of

                   copies of the Plaintiff's copyrighted works by Defendants on any website, including

                   but not limited to Sex.com;

                   (2)    Permitting any user to upload for reproduction, adaptation, public display

                   and/or distribution of copies of the Plaintiff's copyrighted works by Defendants on

                   any website, including but not limited to Sex.com; and

                   (3)    Marketing or selling any product containing or utilizing Plaintiffs

                   intellectual property or business values,

          B.       That Defendants be ordered to transfer the domain Sex.com, and all similar domains

   held by Defendants found in discovery, such as misspellings of the enumerated domains, domains

   held by Defendants linked to www.sex.com, and the content therein to Plaintiff.

          C.       That Defendants be ordered to file with the Court and serve upon Plaintiff, within

   thirty (30) days after the entry of an injunction, a report in writing and under oath, setting forth in

   detail the manner and form in which Defendants have complied with any ordered injunction;

          D.       That Plaintiff be awarded damages in an amount to be determined at trial for all

   infringing activities, including Plaintiffs damages and lost profits, Defendants' profits, plus any

   costs incurred in preventing future confusion, mistake or deception, all from the date of first

   infringement;

           E.      That Defendants pay Plaintiff a sum sufficient to cover the cost of corrective

    advertising necessary to alleviate any existing or lingering confusion resulting from Defendants'

    unauthorized use of Plaintiff's trade dress and terms;




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               F.     That Defendants be ordered to account to Plaintiff for all profits, gains and

       advantages that they have realized as a consequence of their unauthorized use of Plaintiff's

       copyrighted works;

               G.     That Plaintiff be awarded enhanced damages and attorney's fees;

               H.     That Plaintiff be awarded pre judgment and post-judgment interest;

               I.     That Plaintiff be awarded costs and expenses incurred in prosecuting this action,

       including expert witness fees; and

               J.     That such other and further preliminary and permanent relief be awarded to Plaintiff

       as the Court deems appropriate.


                                                        COUNT VI
                                             Vicarious Copyright Infringement
                                                  Against All Defendants

               127.   Plaintiff repeats, re-alleges, and incorporates by reference paragraphs 1 through 79

       above and further states that:

               128.    Without authorization, individuals reproduced, distributed, and publicly displayed

       Plaintiff's works through Defendants' website, directly infringing Plaintiff's copyrighted works.

               129.    Defendants were actually or constructively aware or should have been aware or were

       willfully blind to the infringing activity.

               130.    Defendants were able to control or completely end the illegal and improper

       infringement, but failed to do so.

               131.    Defendants contributed materially to the infringement.

               132.    Defendants received directly financial gain and profit from those infringing

       activities.




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               133.   The acts, omissions, and conduct of all Defendants constitute vicarious copyright

    infringement.

               134.   The acts of infringement by Defendants have been willful, intentional, purposeful

    and in reckless disregard of and with indifference to Plaintiff's rights. As a direct and proximate

    result of the infringements by Defendants of Plaintiff's copyrights and exclusive rights under

     copyright in the; Plaintiff's copyrighted works, Plaintiff is entitled to its actual damages and

     Defendants' profits pursuant to 17 U.S.C. § 504(b).

               135.   Alternatively, Plaintiff is entitled to maximum statutory damages, pursuant to 17

     U.S.C. § 504(c), in the amount of $150,000 with respect to each work infringed, or such other

     amounts as may be proper under 17 U.S.C. § 504(c).

               136.   Plaintiff is further entitled to its attorneys' fees and full costs pursuant to 17 U.S.C. §

     505.


               WHEREFORE, Plaintiff, Hydentra HLP Int. Limited, d/b/a MetArt, requests the following

     relief:

               A. -   That Defendants, their agents, servants, officers, directors, employees, attorneys,

     privies, representatives, successors and assigns and parent and subsidiary corporations or other

     related entities, and any or all persons in act of concert or participation with any of them, be

     preliminarily and permanently enjoined from:

                      (1)     Any and all reproduction, adaptation, public display and/or distribution of

                      copies of the Plaintiff's copyrighted works by Defendants on any website, including

                      but not limited to Sex.com;




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                      (2)    Permitting any user to upload for reproduction, adaptation, public display

                      and/or distribution of copies of the Plaintiff's copyrighted works by Defendants on

                      any website, including but not limited to Sex.com; and

                      (3)    Marketing or selling any product containing or utilizing Plaintiff's

                      intellectual property or business values.

             B.       that Defendants be ordered to transfer the domain Sex.com, and all similar domains

      held by Defendants found in discovery, such as misspellings of the enumerated domains, domains

      held by Defendants linked to www.sex.com, and the content therein to Plaintiff.

             C.       That Defendants be ordered to file with the Court and serve upon Plaintiff, within

      thirty (30) days after the entry of an injunction, a report in writing and under oath, setting forth in

      detail the manner and form in which Defendants have complied with any ordered injunction;

             D.       That Plaintiff be awarded damages in an amount to be determined at trial for all

      infringing activities, including Plaintiff's damages and lost profits, Defendants' profits, plus any

      costs incurred in preventing future confusion, mistake or deception, all from the date of first

      infringement;

              E.      That Defendants pay Plaintiff a sum sufficient to cover the cost of corrective

       advertising necessary to alleviate any existing or lingering confusion resulting from Defendants'

       unauthorized use of Plaintiff's trade dress and terms;

              F.      That Defendants be ordered to account to Plaintiff for all profits, gains and

      advantages that they have realized as a consequence of their unauthorized use of Plaintiff's

      copyrighted works;

              G.      That Plaintiff be awarded enhanced damages and attorney's fees;

              H.      That Plaintiff be awarded pre judgment and post judgment interest;




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            I.      That Plaintiff be awarded costs and expenses incurred in prosecuting this action,

     including expert witness fees; and

            J.      That such other and further preliminary and permanent relief be awarded to Plaintiff

     as the Court deems appropriate.


                                                   COUNT VII
                                       Inducement of Copyright Infringement
                                              Against All Defendants

            137.    Plaintiff repeats, re-alleges, and incorporates by reference paragraphs 1 through 79

     above and further states that:

            138.    Defendants designed and/or distributed technology and/or devices and/or

     induced individuals to use this technology to promote the use of infringed and copyrighted

     material. As a direct and proximate result of Defendants' inducement, individuals infringed

     Plaintiff's copyrighted works. These individuals reproduced, distributed and publicly disseminated

     Plaintiff's copyrighted works through Defendants' website.

            139.    On information and belief, Defendants have encouraged the illegal uploading and

     downloading of Plaintiff's copyrighted works, thus inducing the unauthorized reproduction,

     adaptation, public display and/or distribution of copies of the Plaintiff's copyrighted works, and

     thus to the direct infringement of Plaintiff's copyrighted works,

            140.    Defendants' actions constitute inducing copyright infringement of Plaintiff's

     copyrights and exclusive rights under copyright in the Plaintiff's copyrighted works in violation of

     the Copyright Act, 17 U.S.C. §§ 106 and 501.

             141.   The infringement of Plaintiff's rights in and to each of the Plaintiff's copyrighted

     works constituted a separate and distinct infringement.




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              142.   The acts of infringement by Defendants have been willful, intentional, purposeful

   and in reckless disregard of and with indifference to Plaintiff's rights.

              143.   As a direct and proximate result of the infringements by Defendants of Plaintiff's

   copyrights and exclusive rights under copyright in the Plaintiff's copyrighted works, Plaintiffs are

    entitled to its actual damages and Defendants' profits pursuant to 17 U.S.C. § 504(b).

              144.   Alternatively, Plaintiff is entitled to maximum statutory damages, pursuant to 17

    U.S.C. § 504(c), in the amount of $150,000 with respect to each work infringed, or such other

   amounts as may be proper under 17 U.S.C. § 504(c).

              145.   Plaintiff is further entitled to its attorneys' fees and full costs pursuant to 17 U.S.C. §

    505.


              WHEREFORE, Plaintiff, Hydentra HLP Int. Limited, d/b/a MetArt, requests the following

    relief:

              A.     That Defendants, their agents, servants, officers, directors, employees, attorneys,

    privies, representatives, successors and assigns and parent and subsidiary corporations or other

    related entities, and any or all persons in act of concert or participation with any of them, be

    preliminarily and permanently enjoined from:

                     (1)     Any and all reproduction, adaptation, public display and/or distribution of

                     copies of the Plaintiff's copyrighted works by Defendants on any website, including

                     but not limited to Sex.com;

                      (2)    Permitting any user to upload for reproduction, adaptation, public display

                     and/or distribution of copies of the Plaintiff's copyrighted works by Defendants on

                     any website, including but not limited to Sex.com; and




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                    (3)    Marketing or selling any product containing or utilizing Plaintiff's

                    intellectual property or business values.

           B.       That Defendants be ordered to transfer the domain Sex.com, and all similar domains

    held by Defendants found in discovery, such as misspellings of the enumerated domains, domains

    held by Defendants linked to www.sex.com, and the content therein to Plaintiff.

           C.       Thit Defendants be ordered to file with the Court and serve upon Plaintiff, within

    thirty (30) days after the entry of an injunction, a report in writing and under oath, setting forth in

    detail the manner and form in which Defendants have complied with any ordered injunction;

           D.       That Plaintiff be awarded damages in an amount to be determined at trial for all

    infringing activities, including Plaintiff's damages and lost profits, Defendants' profits, plus any

    costs incurred in preventing future confusion, mistake or deception, all from the date of first

    infringement;

           E.       That Defendants pay Plaintiff a sum sufficient to cover the cost of corrective

    advertising necessary to alleviate any existing or lingering confusion resulting from Defendants'

    unauthorized use of Plaintiff's trade dress and terms;

           F.       That Defendants be ordered to account to Plaintiff for all profits, gains and

    advantages that they have realized as a consequence of their unauthorized use of Plaintiff's

    copyrighted works;

           G.       That Plaintiff be awarded enhanced damages and attorney's fees;

           H.       That Plaintiff be awarded pre-judgment and post judgment interest;

           I.       That Plaintiff be awarded costs and expenses incurred in prosecuting this action,

    including expert witness fees; and




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            J.      That such other and further preliminary and permanent relief be awarded to Plaintiff

    as the Court deems appropriate.



                                              COUNT VIII
                        Unauthorized Publication of Name and Likeness in Violation
                                   Of Section 540.08, Florida Statutes
                                         Against All Defendants

            146.    Plaintiff repeats, re-alleges, and incorporates by reference paragraphs 1 through 79 as

    if set forth herein.

            147.    Plaintiffs erotic photographs and motion pictures depict models who performed

    under contract.

            148.    Said contract contains a release of each model's rights and interest for their

    appearance in an erotic motion picture, and an assignment in ownership of the same to Plaintiff.

            149.      Defendants published, printed, displayed or otherwise used publicly images that

    depict numerous models that signed Plaintiffs release agreement.

            150.      Defendants' websites commercially exploit Plaintiffs images without the Plaintiffs

    knowledge or consent.

            151.      Defendants gained pecuniary benefit from the unauthorized use of Plaintiffs name,

    images and likeness.

            152.      The Defendants use of Plaintiffs name, images and likeness was not part of a bona

    fide news report, nor did it have a legitimate public interest, but rather, was used by Defendants for

    their sole commercial benefit.

            153.      The use of Plaintiffs name, image and likeness for commercial purposes, without

    express consent, violates Florida Statute §540.08.




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                WHEREFORE, Plaintiff, Hydentra HLP Int. Limited, d/b/a MetArt, requests the following

      relief:

                A.     That Defendants be enjoined from using the name, image, and likeness of any

                       MetArt models for commercial, advertising, or any other unauthorized use on

                       Sex.com, and all similar domains held by Defendants found in discovery, such as

                       misspellings of the enumerated domains, and domains held by Defendants linked to

                       www.sex.com;

                B.     That Defendants be ordered to recover damages for any loss or injury resulting from

                       Defendants' unauthorized use of Plaintiff's name and likeness;

                C.     That Defendants be ordered, pursuant to Florida Statute § 540.08 to pay Plaintiff a

                       reasonable royalty, plus exemplary and/or punitive damages; and

                D.     Such other and further preliminary and permanent relief be awarded to Plaintiff as

                       the Court deems appropriate.


                                         DEMAND FOR JURY TRIAL

                Plaintiff hereby respectfully demands a jury trial as provided by Rule 38(a) of the Federal

      Rules of Civil Procedure.

                DATED: June 30, 2015.

                                                              Respectfully submitted,

                                                              BeharB char
                                                              1840 North Commerce Parkway
                                                              Suite One
                                                              Weston, Florida 33326
                                                              Telephone: (954) 688-7642
                                                              Facsimile: (954) 332-9260
                                                              E-mail: AB@B eharB ehar. co m

                                                      By:        /s/Aaron Behar




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                                               Aaron Behar, Esquire
                                               Florida Bar No.: 166286
                                               Jaclyn Behar, Esquire
                                               Florida Bar No.: 63833
                                               Counsel for Plaintiff

                                      And: Spencer D. Freeman
                                            Freeman Law Firm, Inc.
                                            1107 1/2 Tacoma Avenue South
                                            Tacoma, WA 98402
                                            Telephone: (253) 383-4500
                                            Facsimile: (253) 383-4501
                                            E-mail: sfreeman@freemanlawfirm.org
                                            Counsel for Plaintiff
                                            (Moving for Admission pro hac vice)




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